Case 1:03-cV-01238-.]DB-tmp Document 32 Filed 06/09/05 Page 1 of 4 Page|D 48
UNITED STATES DISTRICT COURT

also sr 951 D.c.
WESTERN DISTRICT 0F TENNESSEE _ _
EASTERN DIVISION 05 wl 9 FM l" 33

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CLEP.K. ) S. E)lST. C`l`.

JOHN L. WILLIAMS, ) WD. Gl3 `F¥,~i HEEl~.At-">Hls
Plaintiff, l
vs. l Civil Action No.: 1:03-1238-.IDB-tmp
CORRECTIONS CORPORATION l
OF AMERICA, et al., )
Defendants. §

 

AGREED ORDER HOLDING DEADLINES IN ABEYANCE

 

lt appears to the satisfaction of the Court that the parties have agreed, as
evidenced by the signatures of counsel for all parties below, that all deadlines be held in
abeyance until after a Scheduled Status Conference on June 24, 2005. This matter being
agreeable with the Court, it is hereby,

ORDERED, that all current deadlines are held in abeyance until after the

scheduled Status Conference on June 24, 2005.

Dated: this al dayof J_UV‘-K ,2005.

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-J-BszTEI:-BRE-EN ~7’,_`4 m P},,qm
UNITED s'rATEs~ms¥R+e=F JUDGE

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APPROVED FOR ENTRY:

 

 

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CERTIFICATE OF SERVICE

l certify that a copy of the foregoing has been served by U.S. mail upon Wayne
A. Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126,
Knoxville, TN 37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300,
Columbia, sc 29201 on Jun@@{j;L, 2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case l:03-CV-01238 Was distributed by faX, mail, or direct printing on
.lune 13, 2005 to the parties listed.

ESSEE

 

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Honorable J. Breen
US DISTRICT COURT

